Case 20-14200-mdc                   Doc         Filed 07/31/23 Entered 07/31/23 17:06:57                                  Desc Main
                                                Document      Page 1 of 9

     Fill in this information to identify the case:

     Debtor 1 ANTHONY M DANIELE
     Debtor 2      LISA L DANIELE
     (Spouse, if filing)

     United States Bankruptcy Court for the: Eastern District of Pennsylvania
     Case number 20-14200-mdc




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                         12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                 Court claim no. (if known): 11

  Last four digits of any number you           4767                             Date of payment change:                     09/01/2023
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $2,443.03
                                                                                Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 674.89             New escrow payment:          $ 699.26

  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %               New interest rate:                                %

                Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change

     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
            modification agreement. (Court approval may be required before the payment change can take effect.)

                Reason for change:


                Current mortgage payment: $                        New mortgage payment: $




Official Form 410S1                            Notice of Mortgage Payment Change                                                 page 1
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   Debtor1   ANTHONY M DANIELE                                       Case number (if known) 20-14200-mdc
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Andrew Spivack
       Signature
                                                                                    Date 07/31/2023



   Print: Andrew Spivack (84439)
         First Name           Middle Name           Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                       Email PABKR@brockandscott.com




Official Form 410S1                               Notice of Mortgage Payment Change                                 page 2
Case 20-14200-mdc             Doc        Filed 07/31/23 Entered 07/31/23 17:06:57                   Desc Main
                                         Document      Page 3 of 9
                                IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                            Philadelphia Division


 IN RE:
 ANTHONY M DANIELE AND LISA L DANIELE                            Case No. 20-14200-mdc
                                                                 Chapter 13
 Freedom Mortgage Corporation,
          Movant

 vs.

 ANTHONY M DANIELE AND LISA L DANIELE,
       Debtors




                                            CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

DIANA M. DIXON, Debtor's Attorney
107 N. Broad Street
Suite 307
Doylestown, PA 18901
dianamdixonesq@gmail.com


Kenneth E West, Bankruptcy Trustee
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

Office of the U.S. Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107


Via First Class Mail:

ANTHONY M DANIELE
1777 GUINEA LN
WARRINGTON, PA 18976-1308

LISA L DANIELE
1777 GUINEA LN
WARRINGTON, PA 18976-1308
Case 20-14200-mdc     Doc   Filed 07/31/23 Entered 07/31/23 17:06:57    Desc Main
                            Document      Page 4 of 9
Date: July 31, 2023
                                     /s/Andrew Spivack
                                     Andrew Spivack, PA Bar No. 84439
                                     Matt Fissel, PA Bar No. 314567
                                     Mario Hanyon, PA Bar No. 203993
                                     Ryan Starks, PA Bar No. 330002
                                     Jay Jones, PA Bar No. 86657
                                     Attorney for Creditor
                                     BROCK & SCOTT, PLLC
                                     3825 Forrestgate Drive
                                     Winston Salem, NC 27103
                                     Telephone: (844) 856-6646
                                     Facsimile: (704) 369-0760
                                     E-Mail: PABKR@brockandscott.com
                                 REPRESENTATION OF PRINTED DOCUMENT
     Case 20-14200-mdc               Doc         Filed 07/31/23 Entered 07/31/23 17:06:57 Desc Main
                                                 Document      PageEscrow
                                                                    5 of 9 Account Disclosure Statement
                         PO BOX 50428
                         INDIANAPOLIS, IN 46250-0401
                                                                              Account Information
                                                                                Loan Number:
                                                                             Property Address:                         1777 GUINEA LN
                                                                                                                 WARRINGTON PA 18976



  ANTHONY M DANIELE                                                                   Statement Date:                    07/14/2023
  LISA L DANIELE                                                             Current Payment Amount:                      $2,418.66
  1777 GUINEA LN
  WARRINGTON PA 18976-1308                                                        New Payment Amount:                    $2,443.03
                                                                             New Payment Effective Date:                09/01/2023



You are receiving this statement because you have an escrow account with us. We have safeguards in place to ensure there is
enough money in your account to cover your homeowners insurance, real estate taxes and mortgage insurance, if applicable.
However, changes in your taxes and insurance could result in a shortage or surplus in your escrow account.
Based on our most recent analysis, you have a shortage of $40.70 in your escrow account. This shortage likely was caused by
changes in your taxes and/or insurance. A shortage may also result if full monthly escrow payments have not been made to your
account. To see these changes, refer to Part 2. We will automatically spread the shortage amount over 12 months of future
monthly escrow payments. This will be reflected as an increase to your monthly mortgage payment.

               Projected Minimum Balance                                                 $1,351.04

               - Required Minimum Balance                                                $1,391.74

               Shortage Amount                                                              $40.70

The required minimum balance (also known as the escrow cushion) is the amount that you are required to pay into your escrow account
to cover unanticipated disbursements for escrow items or for disbursements that have to be made before the monthly escrow payments
are available in your escrow account.
Part 1 provides your current and the new escrow payment amounts. Part 2 shows what has already happened in your account while
Part 3 shows what we anticipate happening in your account over the next 12 months. As escrow items are subject to change each year,
the amounts in Part 3 are only estimates.



PART


       1                                                     Your Mortgage Payment
                                  Payment information beginning with your 09/01/2023 payment

                                                       Payment Information            Current Monthly Payment     New Monthly Payment
                                                            Principal & Interest:                    $1,743.77                $1,743.77
The escrow shortage amount will
                                                              Escrow Payment:                         $674.89                  $695.87
automatically be spread over 12 months.
Your new monthly payment will be                              Shortage Spread:                          $0.00                     $3.39
$2,443.03.                                                     Total Payment:                        $2,418.66                $2,443.03




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       PART


                  2                                                   Your Escrow Account History

                              The chart below compares what we projected to occur with actual activity in your escrow account since the
                              last analysis.

                Previous Year's Projections (Estimated)                                                             Actual Activity
    Date            Paid In      Paid Out   Description                      Balance     Date        Paid In    Paid Out         Description                  Balanc e
                                            Beginning Balance              $1,349.83                                             Beginning Balance         ($1,539.05)
  Sep 2022         $674.89          $0.00                                  $2,024.72   Sep 2022    $1,347.12       $0.00                                    ($191.93)
  Oct 2022         $674.89          $0.00                                  $2,699.61   Oc t 2022   $1,382.04       $0.00                                    $1,190.11
  Nov 2022         $674.89          $0.00                                  $3,374.50   Nov 2022     $674.89        $0.00                                    $1,865.00
  Dec 2022         $674.89          $0.00                                  $4,049.39   Dec 2022    $3,302.52       $0.00                                    $5,167.52
  Jan 2023         $674.89          $0.00                                  $4,724.28   J an 2023    $674.89        $0.00                                    $5,842.41
  Feb 2023         $674.89          $0.00                                  $5,399.17   Feb 2023     $674.89        $0.00                                    $6,517.30
  Mar 2023         $674.89          $0.00                                  $6,074.06   Mar 2023     $674.89        $0.00                                    $7,192.19
  Apr 2023         $674.89      $1,750.21   TOWNSHIP TAX                   $4,998.74   Apr 2023    ($190.27)   $1,750.21                                    $5,251.71
  May 2023         $674.89          $0.00                                  $5,673.63   May 2023     $674.89    $1,355.00 *                                  $4,571.60
  Jun 2023         $674.89      $1,135.00   HOMEOWNERS                     $5,213.52   J un 2023    $674.89        $0.00                                    $5,246.49
  Jul 2023         $674.89          $0.00                                  $5,888.41   Jul 2023       $0.00        $0.00     E                              $5,246.49
  Aug 2023         $674.89      $5,213.52   SCHOOL/ISD TAX                 $1,349.78   Aug 2023       $0.00        $0.00     E                              $5,246.49
   Total          $8,098.68     $8,098.73                                               Total      $9,890.75   $3,105.21



             An asterisk (*) indicates a difference in that month between the actual activity and the estimated activity.
             When applicable, the letter “E” beside an amount indicates that a payment or disbursement has not yet occurred but is estimated
             to occur as shown.
             A double asterisk (**) indicates a difference in that month between the actual activity and the estimated activity due to interest
             payable on escrow which is not estimated.




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                                              ELECTRONIC-ONLY DOCUMENT
   Case 20-14200-mdc                     Doc         Filed 07/31/23 Entered 07/31/23 17:06:57 Desc Main
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                                                                        7 of 9 Account Disclosure Statement
                             PO BOX 50428
                             INDIANAPOLIS, IN 46250-0401
                                                                                  Account Information                        Page 2
                                                                                   Loan Number:
                                                                                Property Address:                            1777 GUINEA LN
                                                                                                                     WARRINGTON PA 18976



 ANTHONY M DANIELE                                                                        Statement Date:                      07/14/2023
 LISA L DANIELE                                                                  Current Payment Amount:                        $2,418.66
 1777 GUINEA LN
 WARRINGTON PA 18976-1308                                                             New Payment Amount:                      $2,443.03
                                                                                 New Payment Effective Date:                  09/01/2023


PART


       3                              Expected Escrow Payments over the next 12 Months

       HOMEOWNERS                                                      $1,355.00 Freedom expects to pay $8,350.44 over the next 12 months.
       SCHOOL/ISD TAX                                                  $5,245.23
       TOWNSHIP TAX                                                    $1,750.21 Here's how to calculate your new monthly escrow payment:
       Total Disbursements                                             $8,350.44
                                                                                 Total Disbursements:                 $8,350.44
                                                                                 ÷ 12 Months:                                12
                                                                                 New Monthly Escrow Payment               $695.87
                                Summary of Your Projected Escrow Account for the Coming Year
                                                           What We
                                  Payment                                                                   Your Actual     Balance Needed
                                                           Expect to            Description
           Date                  to Escrow                                                                     Balance      In Your Account
                                                            Pay Out
                                                                     Beginning Balance                       $1,351.04              $1,391.74
         Sep 2023                 $695.87                      $0.00                                         $2,046.91              $2,087.61
         Oct 2023                  $695.87                     $0.00                                         $2,742.78              $2,783.48
         Nov 2023                 $695.87                      $0.00                                         $3,438.65              $3,479.35
         Dec 2023                 $695.87                      $0.00                                         $4,134.52              $4,175.22
         Jan 2024                  $695.87                     $0.00                                         $4,830.39              $4,871.09
         Feb 2024                  $695.87                     $0.00                                         $5,526.26              $5,566.96
         Mar 2024                 $695.87                      $0.00                                         $6,222.13              $6,262.83
         Apr 2024                 $695.87                  $1,750.21 TOWNSHIP TAX                            $5,167.79              $5,208.49
         May 2024                  $695.87                     $0.00                                         $5,863.66              $5,904.36
         Jun 2024                  $695.87                 $1,355.00 HOMEOWNERS                              $5,204.53              $5,245.23
         Jul 2024                  $695.87                     $0.00                                         $5,900.40              $5,941.10
         Aug 2024                 $695.87                  $5,245.23 SCHOOL/ISD TAX                          $1,351.04              $1,391.74 *
                                 $8,350.44                 $8,350.44
   The required minimum balance, as indicated by the asterisk (*) in the summary above, is determined by the Real Estate
   Settlement Procedures Act (RESPA), your mortgage contract or state law. Your minimum balance may include up to two
   months of escrow payments (excluding PMI/MIP) to cover increases to your taxes and homeowners insurance.




PART


       4                                                         What This Means to You

              Your escrow balance is less than the required minimum balance or cushion in your account. The resulting
              shortage is $40.70.
              The Escrow shortage has been spread over 12 months. Including the shortage, your new total monthly payment
              will be $2,443.03.
              Did you know by having recurring payments set up through FreedomMortgage.com, we'll adjust for any changes
              in your monthly payment automatically? However, if you have automatic bill pay through your bank, you'll need to
              contact them directly to adjust your payment. To sign up for recurring payments, login to your Freedom Mortgage
              account or register today at MyAccount.FreedomMortgage.com.
PART


       5                                        How You Can Reach Us with Questions

              Should you have any questions regarding the information provided in this statement please do not hesitate to
              contact us at (855) 690-5900. Customer Care representatives are available to assist you Monday through Friday
              8:00am – 8:00pm and Saturday 9:00am – 2:00pm Eastern Time.




                                              ELECTRONIC-ONLY DOCUMENT
                                  REPRESENTATION OF PRINTED DOCUMENT
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                                                                     8 of 9 Account Disclosure Statement
                          PO BOX 50428
                          INDIANAPOLIS, IN 46250-0401                  Account Information
                                                                         Loan Number:
                                                                      Property Address:                   1777 GUINEA LN
                                                                                                    WARRINGTON PA 18976



      ANTHONY M DANIELE                                                        Statement Date:              07/14/2023
      LISA L DANIELE                                                  Current Payment Amount:                $2,418.66
      1777 GUINEA LN
      WARRINGTON PA 18976-1308                                             New Payment Amount:              $2,443.03
                                                                      New Payment Effective Date:          09/01/2023




       FREEDOM M ORTGAGE CORPORATION IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT AND ANY
       INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

       IM PORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO
       THE AUTOMATIC STAY OR IS PROVIDED FOR IN A CONFIRMED PLAN, THIS COM MUNICATION IS FOR REGULATORY
       COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT CONSTITUTE A DEM AND FOR PAYMENT
       OR AN ATTEM PT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.




LOAN NUMBER: 0129194767

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                                  Shortage Repayment FAQs
Customers who prefer to pay their escrow shortage in a lump sum may find the below information helpful.
Am I required to pay my shortage in a lump sum?
       No. You may elect to do so at your own discretion.

What is a shortage and why might I have one?
       Your escrow account exists to pay escrowed items (taxes, insurance, mortgage insurance, etc.) as they come due.
       Shortages are commonly caused by increases in taxes or insurance, changing your insurance carrier off-cycle, or
       underestimated taxes when you closed your loan.
        A regular analysis of the escrow account is required to ensure that enough funds are available to pay these expenses
        as they come due. A shortage exists if the analysis shows that the minimum required balance falls below the amount
        required to make the projected payments of escrowed expenses.
May I pay the total escrow shortage?
        You have the option to pay the total shortage in a lump sum but you are not required to do so. If you choose to pay
        the total shortage, your scheduled monthly payment will no longer include the shortage collection amount. A coupon is
        provided below for your convenience. You may also pay an escrow shortage via our website at
        www.freedommortgage.com or via telephone by calling 855-690-5900. Please allow one billing cycle for this change to
        be reflected on your billing statement.
Can I prepay my escrow account, so my payment does not change?
        No. Taxes and insurance costs routinely change. The escrow portion of your monthly payment is collected so
        disbursements can be made when due; changes to escrowed expenses will result in a change in your mortgage
        payment.
        While making supplemental payments towards your escrow may reduce or eliminate an escrow shortage, the escrow
        portion of your monthly payment is calculated by dividing all projected escrow expenses in the coming year by 12. This
        calculation, for future monthly payments, is independent of the existing balance in the escrow account, so paying extra
        will not change the escrow payment calculation.
Can I pay an escrow shortage in a lump sum if my loan is 30 or more days delinquent?
        No. Payments on loans that are 30 or more days past due will first be credited toward any past-due amount owed
        before any funds are applied towards an escrow shortage.




   If you prefer to pay the shortage in a lump sum, then please return this coupon with the amount shown
                              below. This is not a request for lump sum payment.
  ANTHONY M DANIELE
  LISA L DANIELE
  1777 GUINEA LN                                                                                     Shortage Amount
  WARRINGTON PA 18976
                                                                                                            $40.70
  Loan Number:
  Important Information:                                         Mail to:
  Please use this coupon for escrow payments only. Use of        Freedom Mortgage Corporation
  this coupon for funds not intended for escrow may result       Cash Management
  in delayed payment posting.                                    29730 Network Place
                                                                 Chicago, IL 60673-1297




                                                  Internet Reprint
